Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 1 of 26

                 2022-04063 / Court: 269




                           EXHIBIT "A"
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 2 of 26
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 3 of 26
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 4 of 26
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 5 of 26
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 6 of 26
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 7 of 26
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 8 of 26
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 9 of 26
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 10 of 26
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 11 of 26

                 2022-04063 / Court: 269
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 12 of 26

                 2022-04063 / Court: 269
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 13 of 26

                 2022-04063 / Court: 269
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 14 of 26            1/26/2022 11:03 AM
                                                         Marilyn Burgess - District Clerk Harris County
                                                                              Envelope No. 61161198
                                                                                           By: A Davis
                                                                           Filed: 1/26/2022 11:03 AM
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 15 of 26




                SERVICE AFFIDAVIT ATTACHED
                   Case 4:22-cv-00559 Document 1-2 Filed
                                          AFFIDAVIT      on 02/21/22 in TXSD Page 16 of 26
                                                    OF SERVICE


State of Texas                                                       County of Harris                                         269th Judicial District Court

Case Number: 202204063

Plaintiff:
Tina Luna
vs.
Defendant:
April Sharpless, et al.,

For:
Farrar & Ball, LLP
1117 Herkimer Street
Houston. TX 77008

Received by Lexitas (Houston) on the 25th day of January, 2022 at 9:16 am to be served on April Sharpless by serving
through the Chariman of the Texas Transportation Commission, 125 E 11th Street, Austin, Travis County, TX 78701.

1, Dane Ray Cuppett, being duly sworn, depose and say that on the 25th day of January, 2022 at 3:24 pm, I:

served the TRANSPORTATION COMMISSION by delivering in duplicate a true copy of the Citation Corporate and Plaintiffs
Original Petition with the date of service endorsed thereon by me, to: Jenna Townsend at 125 E 11th Street, Austin, Travis
County, TX 78701, as the designated agent for the Texas Transportation Commission to accept service of process on behalf of
April Sharpless. An administrative fee of $25.00 was also tendered.



My name is Dane Ray Cuppett, my date of birth is 10/9/1984 and my address is 604 West 9th Street. Suite B, Austin, TX 78701. 1
declare under penalty of perjury that the foregoing is true and correct.
Executed in Travis County, Texas.




                                                                                                                     (

                                                                                                              D^e Ray Cuppett
Subscribed and sworn to before me on the6^ lJ                                                                 PSC-7114, Exp. 10/31/23
day ofXI Y(^y[\JCUX/\ . C?Q3:^bv the affiant
whovts person.     'nlto me.
                                                                                                              Date


NOTARY PUBLIC                                                                                                Lexitas (Houston)
                                                                                                             4299 San Felipe
                                                                                                             Suite 350
                          NICOLE M. WADE                                                                     Houston, TX 77027
              IT       My Notary ID # 129086987                                                              (713) 375-0121
              OP
                        Expires August 9,2024
                                                                                                              Our Job Serial Number: ATX-2022000800
                                                                                                              Ref: 368164


                                             Copyright© 1992-2022 Dataoase Services. Inc. - Process Server's Toolbox V8.It
       Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 17 of 26

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 61161198
Status as of 1/26/2022 11:05 AM CST

Case Contacts

Name            BarNumber   Email             TimestampSubmitted   Status

Nathan Koneru               nathan@fbtrial.com 1/26/2022 11:03:02 AM SENT

Andrew Grant                aj@fbtrial.com    1/26/2022 11:03:02 AM SENT
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 18 of 26            1/26/2022 11:03 AM
                                                         Marilyn Burgess - District Clerk Harris County
                                                                              Envelope No. 61161198
                                                                                           By: A Davis
                                                                           Filed: 1/26/2022 11:03 AM
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 19 of 26
                 Case 4:22-cv-00559 Document 1-2 Filed
                                        AFFIDAVIT      on 02/21/22 in TXSD Page 20 of 26
                                                  OF SERVICE


State of Texas                                                       County of Harris                                             269th Judicial District Court

Case Number: 202204063

Plaintiff:
Tina Luna,
vs.
Defendant:
April Sharpless, et al.

For:
Farrar & Ball, LLP
1117 Herkimer Street
Houston, TX 77008

Received by Lexitas (Houston) on the 25th day of January, 2022 at 9:16 am to be served on Vantage Mobility Aquisition
Corporation (dba AMS Vans LCC)(a Rhode Island corporation) by serving through its registered agent. Corporation
Service Company dba CSC-Lawyers Incorporating Service Company, 211 E 7th Street, Suite 620, Austin, Travis County,
TX 78701.

I. Dane Ray Cuppett, being duly sworn, depose and say that on the 25th day of January, 2022 at 3:04 pm, I:

executed to the REGISTERED AGENT by delivering a true copy of the Citation Corporate and Plaintiffs Original Petition with
the date of delivery endorsed thereon by me. to Jim Herriman, Corporation Service Company dba CSC-Lawyers Incorporating
Service Company as the designated agent to accept delivery of process at the address of 211 E 7th Street, Suite 620, Austin,
Travis County, TX 78701 on behalf of Vantage Mobility Aquisition Corporation (dba AMS Vans LCC)(a Rhode Island
corporation) and informed said person of the contents therein.



My name is Dane Ray Cuppett, my date of birth is 10/9/1984 and my address is 604 West 9th Street, Suite B, Austin, TX 78701. 1
declare under penalty of perjury that the foregoing is true and correct.
Executed in Travis County, Texas.




                                                                                                              Dd^Ray Cuppett
Subscribed and sworn to before me on the                                                                      PSC-7114, Exp. 10/31/23
day ot^j(Xj\ U6uM . <9^^^by the affiant                                                                                      ■>




whoTs person                                                                                                  Date

                                                                                                              Lexitas (Houston)
N0tAi|mj                                                                                                      4299 San Felipe
                      NICOLE M. WADE                                                                          Suite 350
                   My Nolary ID #129086987                                                                    Houston, TX 77027
                    Expires August 9,2024                                                                     (713) 375-0121

                                                                                                              Our Job Serial Number: ATX-2022000802
                                                                                                              Ref: 368164


                                             Copyright ©1992-2022 Database Services, Inc. - Process Server's Toolbox V8.1l
       Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 21 of 26

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 61161198
Status as of 1/26/2022 11:05 AM CST

Case Contacts

Name            BarNumber   Email             TimestampSubmitted   Status

Nathan Koneru               nathan@fbtrial.com 1/26/2022 11:03:02 AM SENT

Andrew Grant                aj@fbtrial.com    1/26/2022 11:03:02 AM SENT
            Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 22 of 26                                             1/26/2022 1:49 PM

                         Marilyn Burgess                                                            Marilyn Burgess - District Clerk Harris County
                                                                                                                         Envelope No. 61172361
                                                                                                                               By: Rhonda Momon
                                                                                                                        Filed: 1/26/2022 1:49 PM
                         HARRIS COUNTY DISTRICT CLERK
                         201 Caroline | P.O. Box 4651 | Houston, Texas 77210-4651 | 832-927-5800 | www.hcdistrictclerk.com


                                              Request for Issuance of Service
             202204063
CASE NUMBER: _______________________________                                  269th
                                                             CURRENT COURT: ___________________________________________

                                   Plaintiff's Original Petition
Name(s) of Documents to be served: _____________________________________________________________________________________

FILE DATE: ______________________
           01/21/2022             Month/Day/Year
SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be
Served):
Issue Service to: __________________________________________________________________________
                  BEYOND MOBILITY INC. D/B/A AMS VANS, INC.

Address of Service: ________________________________________________________________________
                    6275 Lawrenceville Highway

City, State & Zip:__________________________________________________________________________
                  Tucker, Georgia 30084

Agent (if applicable) ________________________________________________________________________
                      Tamara M. Holland

TYPE OF SERVICE/PROCESS TO BE ISSUED: (Check the proper Box)
     Citation          Citation by Posting                 Citation by Publication                   Citations Rule 106 Service
   Citation Scire Facias        Newspaper______________
   Temporary Restraining Order                           Precept                                       Notice
    Protective Order
✔ Secretary of State Citation ($12.00)                  Capias (not by E-Issuance)                     Attachment (not by E-Issuance)
   Certiorari                                          Highway Commission ($12.00)
   Commissioner of Insurance ($12.00)                  Hague Convention ($16.00)                       Garnishment
   Habeas Corpus (not by E-Issuance)                    Injunction                                      Sequestration
    Subpoena
   Other (Please Describe) ___________________________________
(See additional Forms for Post Judgment Service)
   SERVICE BY (check one):
   ATTORNEY PICK-UP (phone) __________________            ✔ E-Issuance by District Clerk
   MAIL to attorney at: ___________________                  (No Service Copy Fees Charged)
   CONSTABLE                                Note: The email registered with EfileTexas.gov must be
   CERTIFIED MAIL by District Clerk         used to retrieve the E-Issuance Service Documents.
                                            Visit www.hcdistrictclerk.com for more instructions.

    CIVIL PROCESS SERVER - Authorized Person to Pick-up: ________________                                    Phone: __________

     OTHER, explain ______________________________________________________________________

Issuance of Service Requested By: Attorney/Party Name: ___________________Bar
                                                       Nathan Koneru          # or ID ___________
                                                                                      24095631

Mailing Address:______________________________________
                1117 Herkimer St., Houston, Texas 77008

Phone Number:__________________________________________
             713-221-8300
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 23 of 26             2/7/2022 12:49 PM
                                                         Marilyn Burgess - District Clerk Harris County
                                                                              Envelope No. 61499218
                                                                                       By: F Abdul-Bari
                                                                             Filed: 2/7/2022 12:49 PM
Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 24 of 26




              SERVICE RETURN ATTACHED
                  Case 4:22-cv-00559 Document 1-2 Filed
                                         AFFIDAVIT      on 02/21/22 in TXSD Page 25 of 26
                                                   OF SERVICE


State of Texas                                                         County of Harris                                         269th Judicial District Court

Case Number: 202204063

Plaintiff:
Tina Luna,
vs.
Defendant:
April Sharpless, et al.,

For;
Farrar & Ball. LLP
1117 Herkimer Street
Houston, TX 77008

Received by Lexitas (Houston) on the 2nd day of February, 2022 at 12:38 pm to be served on Beyond Mobility, Inc. {d/b/a AMS
Vans Inc.) by serving through the Texas Secretary of State, 1019 Brazos, Austin, Travis County, TX 78701.

I, Dane Ray Cuppett, being duly sworn, depose and say that on the 2nd day of February, 2022 at 3:10 pm, I:

executed to the SECRETARY OF STATE by delivering in duplicate a true copy of the Citation and Plaintiffs Original Petition with
the date of delivery endorsed thereon by me, to: Michelle Robinson at 1019 Brazos, Austin, Travis County, TX 78701, as the
designated agent for the Texas Secretary of State to accept delivery of process on behalf of Beyond Mobility, Inc.(d/b/a AMS
Vans Inc.). An administrative fee of $55.00 was also tendered.



I certify that I am over the age of 18, have no interest in the above action, and am a certified process server, in good standing, in the
judicial circuit in which the foregoing occurred. The facts in this affidavit are within my personal knowledge and true and correct.




                                                                                                                   D
                                        4^
Subscri; ,and sworn to bgfore me on the             5                                                           Dane Ray Cuppett
                                                                                                                PSC-7114, Ex^. 10/31/23
day of/               ,^^^by the affiant
who l^emonal        n to me.
                                                                                                                Date

NOTARY PUBLIC                                                                                                  Lexitas (Houston)
                                                                                                               4299 San Felipe
                                                                                                               Suite 350
                             NICOLE M. WADE                                                                    Houston, TX 77027
                          My Notary ID #129086987                                                              (713) 375-0121
                  K.●vV    Expires August 9.2024
            ii.                                                                                                 Our Job Serial Number: ATX-2022001185
                                                                                                                Ref: 368164


                                              Copyright © 1992-2022 Database Services, Inc. - Process Server's Toolbox V8.It
       Case 4:22-cv-00559 Document 1-2 Filed on 02/21/22 in TXSD Page 26 of 26

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 61499218
Status as of 2/7/2022 3:38 PM CST

Case Contacts

Name            BarNumber   Email              TimestampSubmitted Status

Nathan Koneru               nathan@fbtrial.com 2/7/2022 12:49:30 PM   SENT

Andrew Grant                aj@fbtrial.com     2/7/2022 12:49:30 PM   SENT
